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                            UNITED STATES DISTRICT COURT                           United States District Court
                                                                                     Southern District of Texas
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                       ENTERED
                                                                                      October 13, 2020
                             CIVIL ACTION NO. 4:20−cv−03484                          David J. Bradley, Clerk

                                  ORDER FOR CONFERENCE
                                            AND
                             DISCLOSURE OF INTERESTED PARTIES

1.    Counsel shall appear for an initial pretrial and scheduling conference before:

                           United States District Judge Vanessa D. Gilmore
                                   on January 22, 2021 at 01:30 PM
                                        Courtroom 9A, 9th Floor
                                           515 Rusk Avenue
                                            Houston, Texas

2.    Counsel shall file with the clerk within fifteen days from receipt of this order a certificate
      listing all persons, associations of persons, firms, partnerships, corporations, affiliates,
      parent corporations, or other entities that are financially interested in the outcome of this
      litigation. If a group can be specified by a general description, individual listing is not
      necessary. Underline the name of each corporation whose securities are publicly traded. If
      new parties are added or if additional persons or entities that are financially interested in the
      outcome of the litigation are identified at any time during the pendency of this litigation,
      then each counsel shall promptly file an amended certificate with the clerk.

3.    Fed. R. Civ. P. 4(m) requires defendant(s) to be served within 90 days after the filing of the
      complaint. The failure of plaintiff(s) to file proof of service within 90 days after the filing of
      the complaint may result in dismissal of this action by the court on its own initiative.

4.    After the parties confer as required by Fed. R. Civ. P. 26(f), counsel shall prepare and file
      not less than 10 days before the conference a joint report of meeting and joint
      discovery/case management plan containing the information required on the attached form.
      You must use the court's form.

5.    The court will enter a scheduling order and may rule on any pending motions at the
      conference.

6.    Counsel who file or remove an action must serve a copy of this order with the summons and
      complaint or with the notice of removal.

7.    Attendance by an attorney who has authority to bind the party is required at the conference.

8.    Counsel shall discuss with their clients and each other whether alternative dispute
      resolution is appropriate and at the conference shall advise the court of the results of their
      discussions.

9.    A person litigating pro se is bound by the requirements imposed upon counsel in this Order.

10.   Failure to comply with this Order may result in sanctions, including dismissal of the action
      and assessment of fees and costs.
                                                                          By Order of the Court
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                                                 JUDGE VANESSA D. GILMORE
                                                 United States Courthouse
                                                 515 Rusk Street, Room 9513
                                                 Courtroom 9A
                                                 Houston, Texas 77002
                                                 (713) 250−5931
                                                 Byron Thomas, Case Manager
                                                 United States District Clerks Office
                                                 Post Office Box 61010
                                                 Houston, Texas 77208
                                                 (713) 250−5512 (Telephone)
                                                 (713) 250−5477 (Fax)
                                                 byron_thomas@txs.uscourts.gov


                                    PROCEDURES

1.                 Contact with Court Personnel

2.                 Emergencies

3.                 Appearances

4.                 Motion Practice

5.                 Initial Pretrial Conferences and Scheduling Order

6.                 Required Pretrial Materials

7.                 Trial Settings

8.                 Continuances

9.                 Exhibits

10.                Equipment

11.                Courtroom Procedures

12.                Voir Dire

13.                Depositions

14.                Settlement and Orders of Dismissal


                                 LAST REVISIONS JULY 2015
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1.   CONTACT WITH COURT PERSONNEL

     A.   Case−related telephone inquiries should be made to the Case Manager only.
          Inquiries should not be made to Judge Gilmore's Judicial Assistant or Law
          Clerks.

     B.   The case load will not allow the Case Manager to respond to casual
          telephone inquiries about motions and case status. Inquiries regarding
          motions, status of the case, and similar matters should be in writing unless
          time does not permit.

     C.   Information about the filing of documents, entry of orders, or docket entries
          should be obtained from PACER or from the United States District Clerk's
          Office HELPDESK at (713) 250−5500.

     D.   Case−related correspondence should be addressed to:
                Byron Thomas
                Case Manager to Judge Vanessa D. Gilmore
                United States District Clerk
                Post Office Box 61010
                Houston, Texas 77208
                Or by email at byron_thomas@txs.uscourts.gov


     E.   Do not address substantive issues in letter or email form because they are
          not docketed or included in the appellate record. Letters should be used for
          minor procedural matters and for discovery disputes. All letters may be
          docketed at the court's discretion.

     F.   Copies of urgent motions or documents that require prompt attention by the
          Court may be sent or hand delivered to Chambers with an extra copy of the
          transmittal or filing letter stating in the letter the reasons that the matter
          requires the Court's prompt attention.


2.   EMERGENCIES

     A.   Applications for restraining orders or for other immediate relief shall be
          made through the Case Manager. Such applications shall be presented to the
          Court by the Case Manager following counsel's affirmation that the
          opposing party has been contacted and that both parties can be available for
          a conference before the Court. Ex parte applications for restraining orders
          will not be entertained by the Court unless the requirements of Fed. R. Civ.
          P. 65(b) have been satisfied.

     B.   Motions for extension of deadlines or cut−off dates are not emergencies.
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3.   APPEARANCES

     A.   An attorney or pro se party who appears at a hearing or conference shall

          (1)                   be familiar with the case,

          (2)                   have authority to bind the client and

          (3)                   be in charge for that appearance.

     B.   If out−of−town counsel wish to appear by telephone, a written request or
          email should be sent to the Case Manager as far in advance of the
          conference as reasonably possible. The Court will attempt to accommodate
          such requests. Counsel's direct phone number must be included in the
          request.

     C.   Counsel or a pro se litigant will notify the Case Manager immediately of the
          resolution of any matter that is set for trial or hearing.

     D.   Failure to appear when notified of a setting may subject the attorney and/or
          his or her client to sanctions including dismissal for want of prosecution
          and/or other appropriate judgment.


4.   MOTION PRACTICE

     A.   The Court follows the written motion practice described in the Local Rules.
          Opposed motions must be accompanied by a separate proposed order
          granting the relief requested. Summary judgment orders must specifically
          set out the movant's proposed findings of fact and conclusions of law.
          Because most motions will be ruled on without an oral hearing, brief, clear
          motion papers are very important.

          1.     Every non−dispositive motion must contain a certificate of
                 conference and a proposed order granting the relief requested.
                 Failure to comply may result in the party's pleading being denied or
                 stricken.
          2.     Opposed motions and responses generally will be considered by the
                 Court after the submission date, which is 21 days after filing.

     B.   All motions, pleadings and other communication to the Court must be
          served on all other parties in the case.
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C.   A submission date may be extended by agreement of counsel except when
     the extension violates a Court−imposed deadline. Counsel should
     immediately notify the Case Manager, in writing, of such an agreement.

D.   The Court believes that most discovery disputes, especially those dealing
     with: (1) scheduling; (2) the number, length, or form of oral or written
     questions; (3) the responsiveness of answers to oral or written questions;
     and (4) the mechanics of document production, including protective orders
     and the proper method of raising claims of privilege, should be resolved by
     counsel without the intervention of the Court.

     1.     No written discovery motions shall be filed without prior Court
            approval.

     2.     A party with a discovery dispute must first confer with the
            opposing party in a good faith effort to resolve by agreement the
            issues in dispute. If that good faith effort is unsuccessful, the
            moving party shall then contact the Case Manager and seek a
            prompt hearing with the Court by telephone or in person. The
            request for a hearing with the Court carries with it a professional
            representation by the lawyer that a conference has taken place and
            that he or she has made a good faith effort to resolve the dispute.
            The lawyers or unrepresented parties shall file a one−page letter
            with the Court outlining the nature of the dispute. If the Court
            requests, the parties shall supply the Court with the particular
            discovery materials (such as objectionable answers to
            interrogatories) that are needed to understand the dispute. If the
            Court decides that motion papers and supporting memoranda are
            needed to satisfactorily resolve the discovery dispute, such papers
            shall be filed in conformity with Local Rule 6.

E.   Motions for extension of discovery must be filed far enough in advance of
     the deadline to enable opposing counsel to respond before the deadline.

F.   Excessive filing of a large number of motions or filing voluminous
     paperwork may result in sanctions.

G.   Requests for oral argument on motions are not necessary. The Case
     Manager will notify counsel if the Court determines that oral argument
     would be beneficial. Any motion conference requested by the Court will be
     held in open Court. If counsel anticipates the need to offer evidence and
     testimony, leave to do so must be obtained from the Court in advance.
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H.   The Court requires concise, pertinent, and well−organized briefs and
     memoranda of law. Each motion, response, memorandum or brief filed in
     this Court shall be limited to 20 pages unless counsel obtains leave of Court
     for longer submissions (if counsel chooses to file a separate motion and
     brief in support, the combined limit for both pleadings is still twenty (20)
     pages). Any memorandum that is more than 15 pages must be accompanied
     by a concise summary, no longer than 3 pages, narrowing the points in the
     brief.
     Any reply to a response shall be limited to 10 pages and filed within five (5)
     days after the response to the motion is filed.

I.   All briefs and memoranda must contain the following items:

     (1)    All briefs and memoranda must contain the following items:

     (2)    A statement of the issues to be ruled upon by the Court and a short
            statement, supported by authority, of the standard of review for
            each issue.

     (3)    Argument divided under appropriate headings succinctly setting
            forth separate points.

     (4)    A short conclusion stating the precise relief sought.

     Any brief or memorandum that has more than 15 pages of argument must
     also contain the following items listed:

     (5)    A table of contents setting forth the page number of each section,
            including all headings designated in the body of the brief or
            memorandum.

     (6)    A table of citations of cases, statutes, rules, textbooks and other
            authorities, alphabetically arranged.

     (7)    A short summary of the argument.

J.   Any brief, memorandum, or motion that cites authorities not found in the
     United States Code, United States Supreme Court Reporter, Federal
     Reporter, Federal Supplement, Southwestern Reporter Second or Vernon's
     Revised Statutes and Codes Annotated should have attached as an appendix
     copies of the relevant parts of authorities and complete copies of cases.
     Copies of any affidavits, deposition testimony, or other discovery referred
     to should also be contained in the appendix. All appendices should contain
     a paginated table of contents and should be tabbed for ease of reference to
     the materials in the appendix.
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     K.   All exhibits (contract, leases, affidavits, etc.) referred to in briefs must be
          attached to the brief. Copies of all unpublished cases and all state cases
          other than Texas cases cited shall also be attached to the pleading.

     L.   Substantive issues of law shall not be addressed in letter form to the Court.
          They should be filed in the form of a pleading with the Clerk.

     M.   Counsel must notify the Case Manager immediately if any matter is
          resolved prior to the setting.

     N.   If a Motion Hearing is scheduled and a pleading is filed within 5 days
          of the scheduled hearing, counsel shall deliver a courtesy copy to
          chambers.
          When a motion is filed to continue a sentencing in a criminal case to allow
          the Defendant to cooperate with the government, it must be accompanied
          by a verified statement from the prosecutor that the Defendant has not been
          arrested or charged with a new offense.


5.   INITIAL RULE 16 PRETRIAL CONFERENCES AND SCHEDULING
     ORDER

          Refer to Local Rule 16.1. In cases filed after January 1, 1992 or as
          instructed by the Court, counsel will prepare and file, 10 days before the
          conference, a Joint Report of Meeting and Joint Discovery/Case
          Management Plan in the form provided, before the initial pretrial
          conference. The parties may agree on deadlines for completion of any
          pretrial matter and bring a proposed docket control order with them to the
          initial pretrial conference. At the conference, the Court will enter a
          scheduling and docket control order.

          The scheduling and docket control order will control the subsequent course
          of the case and shall not be modified except by leave of this Court upon a
          showing of good cause.
          If new parties are joined subsequent to the mailing of the order, the party
          causing such joinder shall provide copies of all orders previously entered in
          the case, along with the scheduling and docket control order and the Court's
          procedures manual to the new parties.
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6.   REQUIRED PRETRIAL MATERIALS

     A.   Joint Pretrial Order
          Counsel for the plaintiff is responsible for ensuring that the Joint Pretrial
          Order is filed on time. Counsel for the defendant is responsible for
          supplying the plaintiff with a final version of its pretrial order (on computer
          disc where available) at least three (3) days before the Joint Pretrial Order is
          due. A form Joint Pretrial Order is attached. This form may be adapted
          within reason to the size and type of case. Joint pretrial orders must be
          signed by all counsel.
          If plaintiff fails to file the Joint Pretrial Order, then the defendant is
          responsible for filing defendant's portions of a Proposed Pretrial Order. All
          parties are responsible for complying with all requirements of the Final
          Joint Pretrial Order.
          Failure to timely file the Joint Pretrial Order will subject counsel and his or
          her client to sanctions, including dismissal for want of prosecution and/or
          other appropriate judgment.

     B.   Other Required Documents
          With the filing of the pretrial order the parties must also file as separate
          documents (captioned, signed by counsel, and including a certificate of
          service):

          (1)    For Jury Trials

                 a.      A single, joint set of proposed jury instructions or
                         definitions and interrogatories. (A set of the jury instructions
                         must be emailed to Judge Gilmore's Case Manager.)

                         Each requested instruction or definition must be numbered
                         and presented on a separate sheet of paper with authority.
                         Counsel are to include any necessary instructions or
                         definitions, specifically including precise details of (1) the
                         prima facie elements of any cause of action asserted, (2)
                         legal definitions required by the jury, (3) items of damages,
                         and (4) methods of calculation of damages.
                         Even if the parties, in good faith, cannot agree on all
                         instructions or interrogatories, the parties will nonetheless
                         submit a single, unified charge. Each disputed instruction,
                         definition, or interrogatory is to be set out in bold type or
                         italics and identified as disputed. Each disputed item should
                         be labeled to show which party is requesting the disputed
                         language. Accompanying the charge will be all authority,
                         citations or related materials upon which the offering party
                         relies.
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                  b.     Memorandum of law.

          (2)     For Non−Jury Trials

                  a.          Proposed findings of fact and conclusions of law.

                  b.          Memorandum of law.

          (3)     For All Trials and Evidentiary Hearings:

                  a.     Exhibit lists

                  b.     Objections to exhibits, if any, to an opponent's exhibits
                         must include an attached copy of all exhibits objected to.

                  c.     Witness lists.


7.   TRIAL SETTINGS

     A.   The Court holds docket call the last Friday of each month. Unless counsel
          are notified to the contrary, the Court will use docket call as a final pretrial
          conference. All pending motions may be ruled on at docket call. The Court
          maintains a one month trailing docket during which a case is subject to
          being called to trial on short notice.

     B.   The Case Manager cannot ascertain when a case will be reached or where a
          case is on the docket in advance of the docket call. After the one month trial
          term begins, the Case Manager will keep in close touch with counsel and
          every effort will be made to give maximum notice concerning trial settings.
          Counsel are hereby notified that they will be on call on short notice during
          that one month trial term. Unless an attorney has actually begun trial in
          another Court, prior settings will not cause a case to be continued. Should
          an attorney be in trial in another Court when his or her case is reached in
          Judge Gilmore's Court, the attorney may be expected to go into trial in
          Judge Gilmore's Court upon conclusion or settlement of the case in trial if
          the conclusion falls within the one month period.

     C.   A case not reached for trial will be reset as soon as possible.


8.   CONTINUANCES

     A.   Joint motions for continuances are not binding and will be granted only at
          the Court's discretion. All requests for adjournments or extensions of time
          must state (1) the original date, (2) the number of previous requests for
          adjournment or extension, (3) whether these previous requests were granted
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            or denied.

     B.     Bona fide vacation requests will be respected if they are made well in
            advance of the trial setting.

     C.     A trial will not be continued because of the unavailability of a witness.
            Counsel are expected to anticipate such possibilities and should be prepared
            to present testimony by written deposition, video taped deposition, or by
            stipulation.

     D.     Counsel are reminded that, as required by The Civil Justice Reform Act of
            1990, 28 U.S.C. § 473(b)(3), the Cost and Delay Reduction Plan adopted by
            the Court on October 24, 1991, states that "all requests for extensions of
            deadlines for completion of discovery or for postponement of the trial
            [must] be signed by the attorney and the party making the request."


9.   EXHIBITS
     Civil Cases

     A.     All exhibits must be marked and exchanged among counsel before trial.
            The offering party will mark his or her own exhibits with the party's name,
            case number, and exhibit number on each exhibit to be offered.

     B.     The Court will admit all exhibits listed in the final pretrial order into
            evidence unless opposing counsel files written objections supported by
            authority as provided in the applicable rules. A copy of all exhibits objected
            to must accompany the written objections.

     C.     The Court will not admit duplicate exhibits for the Plaintiff and the
            Defendant. The parties are to confer after exchanging exhibits to compile a
            duplicate exhibit list on a form attached to these rules.

     D.     All exhibits will be offered and received into evidence as the first order of
            business at trial.

     E.     Counsel may pass exhibits to the jury during trial with permission in
            advance from the Court. All admitted exhibits will go to the jury during its
            deliberations.

     F.     Counsel for each party is required to provide the Court with a copy of that
            party's exhibits in a properly tabbed and indexed notebook.

     G.     Counsel should become familiar with Local Rule 11.c. regarding
            disposition of exhibits following trial.
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      Criminal Cases

            Counsel for the government and the defendant are required to provide a list
            of proposed exhibits to the Court at the time of trial. All exhibits must be
            marked, including the case number, prior to trial. It is not required that the
            defendant provide a copy of its exhibit list to the government.


10.   EQUIPMENT

      A.    Sound and Video Equipment: The Court has projection, document
            camera, sound and video equipment in the courtroom. Counsel tables are
            equipped with connections for laptop capabilities for presentation through a
            projector and document camera. Monitors are provided on all counsel
            tables, as well as on the witness stand and in the jury box. A standard size
            VCR is available for use. Counsel are invited to use this equipment during
            trial. Counsel must use speakers with the laptop computer when sound is
            part of the presentation. Counsel who seek to test the equipment prior to
            trial shall contact the Court's Case Manager by email, letter or phone to
            make arrangements to test the equipment.

      B.    Easels with writing pads are available for use in the courtroom.

      C.    Counsel must make arrangements in advance with the case manager to
            bring in any additional equipment.


11.   COURTROOM PROCEDURES

      A.    Hours: The Court's hours during trial will vary depending upon the type of
            case and the needs of the parties, counsel, witnesses, and the Court. Court
            will normally convene at 9:00 a.m. and adjourn around 5:00 p.m., recessing
            for lunch between 12:00 p.m. and 1:15 p.m.

      B.    Access at Other Times: Counsel needing access to the courtroom to set up
            equipment or exhibits outside normal hours must arrange in advance with
            the Case Manager to have the courtroom open.

      C.    Telephones: Telephone messages will not be taken by the Judge's staff and
            counsel shall refrain from requesting use of telephones in chambers. Cell
            phones must be turned on vibrate or turned off in the courtroom.

      D.    Filing of Documents: Two copies of documents filed immediately before
            and during trial should be submitted to the Case Manager. Handing
            documents to the Court or case manager does not constitute filing of
            documents. All original documents must be filed in the Clerk's Office or
            electronically.
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E.    Attorney Conference Rooms:
      Attorney conference rooms are available upon request made to the judge's
      case manager. A key will be given to counsel by the secretary for use
      throughout the trial, & counsel will be responsible for clearing the room of
      all materials and returning the key to the secretary at the end of the trial.

F.    Decorum:

      (1)    Counsel and parties will comply with Local Rule 21 regarding
             courtroom behavior. These procedures are strictly enforced.

      (2)    Counsel will ensure that all parties and witnesses refrain from
             chewing gum, drinking, eating, smoking, or reading newspapers,
             books, etc. in the courtroom.

G.    Witnesses:

      (1)    Counsel are responsible for summoning witnesses into the
             courtroom and instructing them on courtroom decorum. Counsel
             may question witnesses either from counsel table or a podium. Do
             not ask the Court's permission to approach a witness.

      (2)    Counsel shall make every effort to elicit from the witnesses only
             information relevant to the issues in the case and to avoid
             cumulative testimony.

      (3)    Counsel should bear in mind the Court's hours and arrange for
             witnesses accordingly. The Court will not recess to permit counsel
             to call a missing witness unless he or she has been subpoenaed and
             has failed to appear.

H.    Seating:
      The Court does not designate seating at counsel tables. This is determined
      on a first−come, first−serve basis on the first day of trial.

I.    Counsel shall conduct opening statements and closing arguments either
      from a lectern, standing before the jury, or facing the Court.

J.    While the jury is deliberating, counsel are to remain near the courtroom to
      be available immediately for jury notes or a verdict unless given permission
      to leave by the Court.

K.    After the jury and counsel are excused, counsel may not contact jurors
      unless otherwise permitted by the Court.
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12.   VOIR DIRE
      The Court will conduct a preliminary examination of the jury panel. At the Court's
      discretion, each side may be allowed to examine the panel following the Court's
      examination. Proposed voir dire questions must be submitted as part of the Joint
      Pretrial Order.


13.   DEPOSITIONS

      A.     The Court will accept the parties' agreement to use a deposition at trial even
             though the witness is available; otherwise, follow Fed. R. Civ. P. 32.

      B.     Before trial, counsel must provide the Case Manager with a copy of any
             deposition to be used at trial.

      C.     Counsel will designate the portions of any deposition to be read or shown
             by videotape by citing pages and lines in the Pretrial Order. No more than
             30 minutes of videotape testimony may be shown for any one witness
             without prior consent of the Court. Objections to those portions (citing
             pages and lines) with supporting authority must be filed at least three (3)
             business days before trial.

      D.     Use of videotaped depositions is permitted if counsel edit to resolve
             objections and incorporate the Court's rulings on objections.

      E.     In a court trial, counsel shall offer the entire deposition as a trial exhibit. In
             addition, counsel shall attach to the front of the deposition exhibit a
             summary of what each party intends to prove by such testimony. If specific
             portions of the deposition are to be offered, counsel shall attach to the front
             of the deposition exhibit a list of those portions, citing line and page
             number inclusively.


14.   SETTLEMENTS AND ORDERS OF DISMISSAL

      A.     Settlements

             (1)     Counsel shall immediately notify the Case Manager of a settlement
                     of any case set for conference, hearing, or trial.

             (2)     Announcement of settlement must be followed by the closing
                     papers within thirty days or the Court will dismiss the case. The
                     Court may also enter a 30, 60, or 90 day order of dismissal.

             (3)     Upon settlement of a suit involving a minor plaintiff, counsel will
                     jointly move for appointment of a guardian ad litem if there is
                     potential conflict of interest between the parent(s) and the minor. If
                     counsel cannot agree on a guardian ad litem, each counsel will
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             submit the names of three proposed ad litems, and the Court will
             appoint a guardian ad litem. With the motion for appointment,
             counsel will notify the Case Manager by letter requesting a
             settlement conference.

B.    Orders of Dismissal
      Any defendant upon whom service has not been perfected within 120 days
      after the complaint is filed will be dismissed for want of prosecution in
      accordance with Fed. R. Civ. P. 4.
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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                              ,   §
                                    Plaintiffs,   §
                                                  §
vs.                                               §   CIVIL ACTION NO.
                                                  §
                                            ,     §
                                  Defendants.     §

                                  JOINT PRETRIAL ORDER


1.     APPEARANCE OF COUNSEL

       List each party, its counsel, and counsel's address and telephone number in separate
paragraphs.

2.     STATEMENT OF THE CASE

        Give a brief statement of the case, one that the judge could read to the jury panel for
an introduction to the facts and parties; include names, dates, and places.

3.     JURISDICTION

       Briefly specify the jurisdiction of the subject matter and the parties. If there is an
unresolved jurisdictional question, state it.

4.     MOTIONS

       List pending motions.

5.     CONTENTIONS OF THE PARTIES

       State concisely in separate paragraphs each party's claims.

6.     ADMISSIONS OF FACT

       List all facts that require no proof.

7.     CONTESTED ISSUES OF FACT

       List all material facts in controversy.
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8.    AGREED PROPOSITIONS OF LAW

      List the legal propositions that are not in dispute.

9.    CONTESTED PROPOSITIONS OF LAW

      State briefly the unresolved questions of law, with authorities to support each.

10.   EXHIBITS

      A.      On a form similar to the one provided by the clerk, each party will attach two
              lists of all exhibits in compliance with F.R. Civ. P. 26(3)(C) identifying each
              document or other exhibit and separately identifying those documents which
              the party expects to offer and those which the party may offer if the need
              arises. All documentary exhibits must be exchanged before trial, except for
              rebuttal exhibits or those whose use cannot be anticipated, and all other
              exhibits will be made available for examination by opposing counsel.

      B.      A party requiring authentication of an exhibit must notify the offering counsel
              in writing within five (5) days after the exhibit is listed and made available;
              failure to object in advance of the trial in writing concedes authenticity.

      C.      Within reason, other objections to admissibility of exhibits must be made at
              least three business days before trial; the Court will be notified in writing of
              disputes, with copies of the disputed exhibit and authority.

      D.      Parties must mark their exhibits to include the case number on each.

      E.      The parties are to confer after exchanging exhibits to compile a duplicate
              exhibit list on a form attached to these rules.

      F.      At the trial, the first step will be the offer and receipt in evidence of exhibits.

11.   WITNESSES

      A.      List the names, addresses and telephone numbers of all witnesses in
              compliance with F. R. Civ. P. 26 (3)(A) separately identifying those witnesses
              whom the party expects to present and those whom the party may call if the
              need arises. Include a brief statement of the nature of their testimony. If a
              witness is to appear by deposition, cite the inclusive pages and lines to be read
              as part of the pretrial witness list.

      B.      Include:
              "If other witnesses to be called at the trial become known, their names,
              addresses, and subject of their testimony will be reported to opposing counsel
              in writing as soon as they are known; this does not apply to rebuttal or
              impeachment witnesses."
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12.     SETTLEMENT

       State that all settlement efforts have been exhausted, that the case cannot be settled,
and that it will have to be tried.

13.     TRIAL

        A.      Probable length of trial; and

        B.      Logistical problems, including availability of witnesses, out−of−state people,
                bulky exhibits, and demonstrations.

14.     ATTACHMENTS

        Include these required attachments:

        A.      For a jury trial:

                (1)     Proposed questions for the voir dire examination.

                (2)     Proposed charge, including instructions, definitions, and special
                        interrogatories, with authority.

        B.      For a non−jury trial:

                (1)     Proposed findings of fact (without repeating uncontested facts) and

                (2)     Conclusions of law, with authority.



Date:

                                                UNITED STATES DISTRICT JUDGE
Approved:


Date:

                                                Attorney−in−Charge, Plaintiff


Date:

                                                Attorney−in−Charge, Defendant
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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                           §
                                           §     CA/CR No.
                                           §
                                           §     VANESSA D. GILMORE
 versus                                    §     Judge
                                           §
                                           §     Byron Thomas, Case Manager
                                           §                           , Court Reporter
                                           §


                                                 Proceeding


                 EXHIBIT LIST OF


                                                                           Date       Date
No.                      Description                     Offr     Obj.     Admit     N/Adm
            Case 4:20-cv-03484 Document 2 Filed on 10/13/20 in TXSD Page 19 of 29
EXHIBIT LIST OF                                          CA/CR NO.
Continued

                                                                            Date     Date
    No.                    Description                    Offr      Obj.
                                                                            Admit   N/Adm
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     UNITED STATES DISTRICT COURT                 SOUTHERN DISTRICT OF TEXAS

                                                          DUPLICATE EXHIBIT LIST


                                                 CA/CR


versus                                                   VANESSA D. GILMORE
                                                                Judge


                                                               Proceeding


          PLAINTIFF'S EXHIBITS                         DEFENDANT'S EXHIBITS

                                    Date                                           Date
   No.         Description          Admit
                                               No.             Description         Admit
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DUPLICATE EXHIBIT LIST continued CA/CR NO.

          PLAINTIFF'S EXHIBITS                          DEFENDANT'S EXHIBITS

                                     Date                                          Date
  No.           Description                     No.             Description
                                     Admit                                         Admit
      Case 4:20-cv-03484 Document 2 Filed on 10/13/20 in TXSD Page 22 of 29




                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                             ,   §
                                 Plaintiff(s),   §
                                                 §
vs.                                              §      CIVIL ACTION NO.
                                                 §
                                           ,     §
                               Defendant(s).     §


                 JOINT DISCOVERY/CASE MANAGEMENT PLAN
                             UNDER RULE 26(f)
                    FEDERAL RULES OF CIVIL PROCEDURE


              Please restate the instruction before furnishing the information.

1.    State when the parties conferred as required by Rule 26(f), and identify the counsel
      who conferred.

2.    List the cases related to this one that are pending in any state or federal court with the
      case number and court.

3.    Briefly describe what the case is about.

4.    Specify the allegation of federal jurisdiction.

      A.     If jurisdiction is based on diversity of citizenship and any of the parties is an
             LLC, please state the citizenship of each of the members of the LLC.
5.    Name the parties who disagree on the issue of jurisdiction and the reasons.

6.    List anticipated additional parties that should be included, when they can be added,
      and by whom they are wanted.

7.    List anticipated interventions.

8.    Describe class−action issues.

9.    State whether each party represents that it has made the initial disclosures required by
      Rule 26(a). If not, describe the arrangements that have been made to complete the
      disclosures.
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10.   Describe the proposed agreed discovery plan, including:

      A.     Responses to all the matters raised in Rule 26(f).
      B.     When and to whom the plaintiff anticipates it may send interrogatories.
      C.     When and to whom the defendant anticipates it may send interrogatories.
      D.     Of whom and by when the plaintiff anticipates taking oral depositions.
      E.     Of whom and by when the defendant anticipates taking oral depositions.
      F.     When the plaintiff (or the party with the burden of proof on an issue) will be
             able to designate experts and provide the reports required by Rule 26(a)(2)(B),
             and when the opposing party will be able to designate responsive experts and
             provide their reports.
      G.     List expert depositions the plaintiff (or the party with the burden of proof on an
             issue) anticipates taking and their anticipated completion date. See Rule
             26(a)(2)(B) (expert report).
      H.     List expert depositions the opposing party anticipates taking and their
             anticipated completion date. See Rule26(a)(2)(B) (export report).

11.   If the parties are not agreed on a part of the discovery plan, describe the separate views
      and proposals of each party.

12.   Specify the discovery beyond initial disclosures that has been undertaken to date.

13.   State the date the planned discovery can reasonably be completed.

14.   Describe the possibilities for a prompt settlement or resolution of the case that were
      discussed in your Rule 26(f) meeting.

15.   Describe what each party has done or agreed to do to bring about a prompt resolution.

16.   From the attorneys' discussion with the client, state the alternative dispute resolution
      techniques that are reasonably suitable, and state when such a technique may be
      effectively used in this case.

17.   Magistrate judges may now hear jury and non−jury trials. Indicate the parties' joint
      position on a trial before a magistrate judge.

18.   State whether a jury demand has been made and if it was made on time.

19.   Specify the number of hours it will take to present the evidence in this case.

20.   List pending motions that could be ruled on at the initial pretrial and scheduling
      conference.

21.   List other motions pending.
        Case 4:20-cv-03484 Document 2 Filed on 10/13/20 in TXSD Page 24 of 29




22.    Indicate other matters peculiar to this case, including discovery, that deserve the
       special attention of the court at the conference.

23.    Certify that all parties have filed Disclosure of Interested Parties as directed in the
       Order for Conference and Disclosure of Interested Parties, listing the date of filing for
       original and any amendments.

24.    List the names, bar numbers, addresses, and telephone numbers of all counsel.




Counsel for Plaintiff(s)                                 Date



Counsel for Defendant(s)                                 Date
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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                            §
                                            §
                              Plaintiffs,   §
                                            §
versus                                      §     CIVIL ACTION NO.
                                            §
                                            §
                                            §
                            Defendants.     §


                               SCHEDULING ORDER


1.                                  AMENDMENTS TO PLEADINGS and ADDITION
                                    OF NEW PARTIES
                                    Party requesting joinder will furnish a copy of this
                                    scheduling order to new parties.

                                    EXPERTS
2a.                                 Plaintiff, or party with the burden of proof, will
                                    designate expert witnesses in writing, listing the
                                    qualifications of each expert, the opinions the expert
                                    will present, and the bases for the opinions as required
                                    under Federal Rule of Civil Procedure 26(A)(2).

2b.                                 Defendant, or party with the burden of proof, will
                                    designate expert witnesses in writing, listing the
                                    qualifications of each expert, the opinions the expert
                                    will present, and the bases for the opinions as required
                                    under Federal Rule of Civil Procedure 26(A)(2).

3.                                  DISCOVERY
                                    Counsel may, by agreement continue discovery beyond
                                    the deadline. No continuance will be granted because of
                                    information acquired in post−deadline discovery.

4.                                  MOTIONS DEADLINE
                                    Including any motion challenging an expert witness
                                    (only motions in limine on issues other than experts
                                    may be filed after this date). The motion deadline may
                                    not be changed by agreement.
         Case 4:20-cv-03484 Document 2 Filed on 10/13/20 in TXSD Page 26 of 29


                                        JOINT PRETRIAL ORDER
5a.                                     THE DEFENDANT shall supply the Plaintiff with a
                                        final version of its pretrial order by this date. (Where
                                        available, Defendant should supply Plaintiff with a
                                        computer disc).

5b.                                     THE PLAINTIFF is responsible for filing the pretrial
                                        order on this date. All Motions in Limine must also be
                                        filed by this date.

6.                                      DOCKET CALL is set at 1:30 p.m. in Courtroom 9A.

7.                                      TRIAL
                                        Case is subject to being called to trial on short notice
                                        during this month.

7a.                                     Estimated days to try

7b.                                     Trial to be jury or non−jury.


      The Clerk shall enter this Order and provide a copy to all parties.

      SIGNED on                            at Houston, Texas.




                                                          VANESSA D. GILMORE
                                                      UNITED STATES DISTRICT JUDGE
       Case 4:20-cv-03484 Document 2 Filed on 10/13/20 in TXSD Page 27 of 29


                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                                §
                                                §
                                 Plaintiffs,    §
                                                §
vs.                                             §     CIVIL ACTION NO.
                                                §
                                                §
                                                §
                               Defendants.      §


                 CERTIFICATE OF SERVICE IN REMOVED ACTION

       I certify compliance with the court's order entered upon filing of the petition for

removal of this action.

       On                               , 20         , I served copies of the Order for

Conference and Court Procedures on all other parties.




                   Date                                       Attorney for Defendant(s)




                                                                             (Revised May 2001)
   Case 4:20-cv-03484 Document 2 Filed on 10/13/20 in TXSD Page 28 of 29




UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS



                    NOTICE OF THE RIGHT TO TRY
             A CIVIL CASE BEFORE A MAGISTRATE JUDGE


           With the consent of all parties, a United States Magistrate Judge
    may preside in a civil case, including jury trial and final judgment.
           The choice of trial before a magistrate judge is entirely yours. Tell
    only the clerk. Neither the judge or magistrate judge will be told until all
    the parties agree.
           The district judge to whom your case is assigned must approve the
    referral to a magistrate judge.
           A consent form is attached and is also available from the clerk.


                                                                    Clerk of Court
     Case 4:20-cv-03484 Document 2 Filed on 10/13/20 in TXSD Page 29 of 29


UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS


Fiesta Mart, LLC                           §
                                           §
versus                                     §        Civil Action 4:20−cv−03484
                                           §
Willis of Illinois, Inc., et al.           §

           CONSENT TO PROCEED BEFORE A MAGISTATE JUDGE

       All parties to this case waive their right to proceed before a district judge and
consent to have a United States Magistrate Judge conduct all further proceedings,
including the trial and judgment. 28 U.S.C. § 636 (c).




                                   ORDER TO TRANSFER

    This case is transferred to United States Magistrate Judge Christina A. Bryan to
conduct all further proceedings, including final judgment.




                  Date                                    Vanessa D. Gilmore
                                                       United States District Judge
